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                    IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF TEXAS
                               TYLER DIVISION

                                             §
QUAVION D. HOLLINS,                          §
                                             §
       Plaintiff,                            §
                                             §
v.                                           §     Case No. 6:21-cv-158-JDK
                                             §
HEALTHCARE REVENUE RECOVERY                  §
GROUP, LLC d/b/a HRRG, LLC,                  §
                                             §
       Defendant.                            §
                                             §

                               ORDER CLOSING CASE
         Before the Court is the parties’ Agreed Stipulation of Dismissal with Prejudice

 (Docket No. 15). As per the notice, all claims in this case are DISMISSED WITH

 PREJUDICE pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii). Each party

 shall bear its own costs and fees. All pending motions are DENIED as moot.

         The Clerk of Court is instructed to close this case.

         So ORDERED and SIGNED this 11th day of August, 2021.



                                              ___________________________________
                                              JEREMY D. KERNODLE
                                              UNITED STATES DISTRICT JUDGE
